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19                        UNITED STATES DISTRICT COURT
20                       CENTRAL DISTRICT OF CALIFORNIA
21
22      FEDERAL TRADE COMMISSION,                 Case No. 2:18-cv-9573-JFW(JPR)
23
                               Plaintiff,         FIRST AMENDED
24                  v.                            COMPLAINT FOR
25                                                PERMANENT INJUNCTION
        APEX CAPITAL GROUP, LLC, a                AND OTHER EQUITABLE
26      Wyoming limited liability company,        RELIEF
27
        CAPSTONE CAPITAL SOLUTIONS
28

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 1      LIMITED, a United Kingdom limited
        company,
 2
 3      CLIK TRIX LIMITED, a United
        Kingdom limited company,
 4
 5      EMPIRE PARTNERS LIMITED, a
        United Kingdom limited company,
 6
 7      INTERZOOM CAPITAL LIMITED, a
 8      United Kingdom limited company,
 9      LEAD BLAST LIMITED, a United
10      Kingdom limited company,
11
        MOUNTAIN VENTURE SOLUTIONS
12      LIMITED, a United Kingdom limited
        company,
13
14      NUTRA GLOBAL LIMITED, a United
15      Kingdom limited company,
16      OMNI GROUP LIMITED, a United
17      Kingdom limited company,
18
        RENDEZVOUS IT LIMITED, a United
19      Kingdom limited company,
20
        SKY BLUE MEDIA LIMITED, a United
21      Kingdom limited company,
22
        TACTIC SOLUTIONS LIMITED, a
23      United Kingdom limited company,
24
        PHILLIP PEIKOS, individually, and as an
25
        officer of APEX CAPITAL GROUP, LLC,
26
        DAVID BARNETT, individually, and as
27
        an officer of APEX CAPITAL GROUP,
28      LLC,
                                             2
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 1
        MARK MOSKVINS, individually, and as
 2      an owner and officer of SIA TRANSACT
 3      PRO,
 4
        and
 5
        SIA TRANSACT PRO, a Latvian limited
 6
        liability company;
 7
 8                                Defendants.
 9
              Plaintiff, the Federal Trade Commission (“FTC”), for its Complaint alleges:
10
              1.    The FTC brings this action under Sections 13(b) and 19 of the Federal
11
       Trade Commission Act (“FTC Act”), 15 U.S.C. §§ 53(b) and 57b, Section 5 of the
12
       Restore Online Shoppers’ Confidence Act (“ROSCA”), 15 U.S.C. § 8404, and
13
       Section 918(c) of the Electronic Fund Transfer Act (“EFTA”), 15 U.S.C.
14
       § 1693o(c), to obtain temporary, preliminary, and permanent injunctive relief,
15
       rescission or reformation of contracts, restitution, the refund of monies paid,
16
       disgorgement of ill-gotten monies, and other equitable relief for Defendants’ acts
17
       or practices in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), Section
18
       4 of ROSCA, 15 U.S.C. § 8403, Section 907(a) of EFTA, 15 U.S.C. § 1693e(a),
19
       and Section 1005.10(b) of Regulation E, 12 C.F.R. § 1005.10(b).
20
                                JURISDICTION AND VENUE
21
              2.    This Court has subject matter jurisdiction pursuant to 28 U.S.C.
22
       §§ 1331, 1337(a) and 1345, 15 U.S.C. §§ 45(a), 53(b), and 57b; and Section 5(a) of
23
       ROSCA, 15 U.S.C. § 8404(a).
24
              3.    Venue is proper in this district under 28 U.S.C. §§ 1391(b)(1), (b)(2),
25
       (c)(1), and (c)(3), and 15 U.S.C. §§ 53(b) and 57b.
26
27
28

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 1                                SUMMARY OF THE CASE
 2           4.     Since early 2014, Defendants Phillip Peikos and David Barnett have
 3     operated an online subscription scam through several interrelated entities they
 4     control, including Apex Capital Group, LLC, Omni Group Limited, Capstone
 5     Capital Solutions Limited, Empire Partners Limited, Interzoom Capital Limited,
 6     Lead Blast Limited, Mountain Venture Solutions Limited, Nutra Global Limited,
 7     Omni Group Limited, Rendezvous IT Limited, Sky Blue Media Limited, Tactic
 8     Solutions Limited (altogether, and along with Defendants Peikos and Barnett, the
 9     “Apex Defendants”). The Apex Defendants market and sell over the Internet more
10     than 50 different products, mainly personal care products and dietary supplements
11     that allegedly promote weight loss, hair growth, clear skin, muscle development,
12     sexual performance, and cognitive abilities. The Apex Defendants claim to offer
13     “free” trials of these products for just the cost of shipping and handling, typically
14     $4.95. In fact, the Apex Defendants charge consumers’ credit and debit cards the
15     full price of the products – approximately $90 – approximately two weeks after
16     consumers order the trials. The Apex Defendants also enroll consumers, without
17     their knowledge or consent, in continuity programs, shipping them additional
18     supplies of the products and charging them about $90 on a monthly basis. The
19     Apex Defendants frequently also charge consumers for supposedly complementary
20     products and enroll consumers in continuity programs related to these secondary
21     products, without consumers’ knowledge or consent. The Apex Defendants have
22     taken tens of millions of dollars from consumers through this deceptive conduct.
23           5.     To further this scheme, the Apex Defendants have used dozens of
24     shell companies and straw owners (referred to as “nominees” or “signors”) to
25     obtain merchant accounts needed to accept consumers’ credit and debit card
26     payments. This practice of processing credit card transactions through other
27     companies’ merchant accounts is known as “credit card laundering,” and it is an
28     unlawful practice used by fraudulent merchants to circumvent credit card

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 1     associations’ monitoring programs and avoid detection by consumers and law
 2     enforcement.
 3           6.     The Apex Defendants engaged in credit card laundering with
 4     Defendants Transact Pro and Mark Moskvins (referred to herein as the “Transact
 5     Pro Defendants”), who approved and maintained numerous nominee offshore
 6     merchant accounts for this subscription scam. The Transact Pro Defendants
 7     manipulated chargeback levels to circumvent card network rules and transaction
 8     monitoring designed to prevent fraud. The Transact Pro Defendants processed
 9     approximately forty million dollars of consumers’ money through the laundered
10     merchant accounts.
11                                         PLAINTIFF
12           7.     The FTC is an independent agency of the United States Government
13     created by statute. 15 U.S.C. §§ 41-58. The FTC enforces Section 5(a) of the FTC
14     Act, 15 U.S.C. § 45(a), which prohibits unfair or deceptive acts or practices in or
15     affecting commerce. The FTC also enforces ROSCA, 15 U.S.C. §§ 8401-8405,
16     which prohibits merchants from selling goods or services on the Internet through
17     negative option marketing without meeting certain requirements to protect
18     consumers. A negative option is an offer in which the seller treats a consumer’s
19     silence as consent to be charged for goods or services. Additionally, the FTC
20     enforces the EFTA, 15 U.S.C. § 1693 et seq., which regulates the rights, liabilities,
21     and responsibilities of participants in electronic fund transfer systems.
22           8.     The FTC is authorized to initiate federal district court proceedings by
23     its own attorneys, to enjoin violations of the FTC Act, ROSCA, and the EFTA, and
24     to secure such equitable relief as may be appropriate in each case, including
25     rescission or reformation of contracts, restitution, the refund of monies paid, and
26     the disgorgement of ill-gotten monies. 15 U.S.C. §§ 53(b), 56(a)(2)(B), 57b, 8404,
27     and 1693o(c).
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 1                                        DEFENDANTS
 2           9.     Defendant Apex Capital Group, LLC (“Apex Capital Group”) is a
 3     Wyoming limited liability company which has had business addresses at 31280
 4     Oak Crest Drive, Suite 5, Westlake Village, California 91361; 690 S Highway 89,
 5     Suite 200, Jackson, Wyoming 83001; 8306 Wilshire Boulevard No. 1669, Beverly
 6     Hills, CA 90211; and 21300 Victory Boulevard, Ste. 740, Woodland Hills, CA
 7     91367. At all times material to this Complaint, acting alone or in concert with
 8     others, Apex Capital Group has advertised, marketed, distributed, or sold products
 9     to consumers throughout the United States. Apex Capital Group transacts or has
10     transacted business in this district and throughout the United States.
11           10.    Omni Group Limited is a United Kingdom limited company. In its
12     corporate filings, it initially provided as an office address the address of a
13     residential property located in Bedford, United Kingdom, and later changed its
14     address to that of a virtual office in London, United Kingdom. Dozens of other
15     limited companies within the control of Apex Capital Group, Phillip Peikos, and
16     David Barnett, including all of the companies listed in Paragraphs 11-20, provided
17     one or both of the same addresses in their corporate filings. When Omni Group
18     Limited was incorporated on July 28, 2015, its proposed directors and shareholders
19     were Phillip Peikos and David Barnett. David Barnett transferred his shares to
20     Phillip Peikos in late 2017, and Peikos is now the sole shareholder of Omni Group
21     Limited. Omni Group Limited is or has been the sole or controlling shareholder of
22     at least twenty limited entities, including the companies listed in Paragraphs 11-
23     20. Many of these companies sold products to U.S. consumers and distributed the
24     sales proceeds to Apex Capital Group, Phillip Peikos, and David Barnett. Omni
25     Group Limited has also transferred millions of dollars from its own bank account
26     to Apex Capital Group.
27           11.    Capstone Capital Solutions Limited is a United Kingdom limited
28     company. In its corporate filings, it initially provided as an office address the

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 1     address of a residential property located in Bedford, United Kingdom, and later
 2     changed its address to that of a virtual office in London, United Kingdom. Its
 3     director, as listed in its corporate filings, is a U.S. resident. Its sole shareholder is
 4     Omni Group Limited, which is owned by Phillip Peikos, who resides in the United
 5     States. At times material to this Complaint, Apex Capital Group, Phillip Peikos,
 6     and David Barnett have used Capstone Capital Solutions Limited to sell products
 7     to U.S.-based consumers, to debit U.S. consumers’ credit cards and financial
 8     accounts, to open merchant accounts through which these charges are processed,
 9     and to distribute the sales proceeds to Apex Capital Group, Phillip Peikos, and
10     David Barnett. At least nine merchant accounts have been established at
11     Defendant Transact Pro in the name of Capstone Capital Solutions Limited to
12     process payments for online sales of products to consumers in the United States.
13            12.    Clik Trix Limited is a United Kingdom limited company. In its
14     corporate filings, it initially provided as an office address the address of a
15     residential property located in Bedford, United Kingdom, and later changed its
16     address to that of a different residential property located in London, United
17     Kingdom. Its controlling shareholder is Omni Group Limited, which is owned by
18     Phillip Peikos, who resides in the United States. At times material to this
19     Complaint, Apex Capital Group, Phillip Peikos, and David Barnett have used Clik
20     Trix Limited to sell products to U.S.-based consumers, to debit U.S. consumers’
21     credit cards and financial accounts, to open merchant accounts through which these
22     charges are processed, and to distribute the sales proceeds to Apex Capital Group,
23     Phillip Peikos, and David Barnett. At least one merchant account has been
24     established at Defendant Transact Pro in the name of Clik Trix Limited to process
25     payments for online sales of products to consumers in the United States.
26            13.    Empire Partners Limited is a United Kingdom limited company. In
27     its corporate filings, it initially provided as an office address the address of a
28     residential property located in Bedford, United Kingdom, and later changed its

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 1     address to that of a different residential property located in London, United
 2     Kingdom. Its director, as listed in its corporate filings, is a U.S. resident. Its
 3     controlling shareholder is Omni Group Limited, which is owned by Phillip Peikos,
 4     who resides in the United States. At times material to this Complaint, Apex
 5     Capital Group, Phillip Peikos, and David Barnett have used Empire Partners
 6     Limited to sell products to U.S.-based consumers, to debit U.S. consumers’ credit
 7     cards and financial accounts, to open merchant accounts through which these
 8     charges are processed, and to distribute the sales proceeds to Apex Capital Group,
 9     Phillip Peikos, and David Barnett. At least seven merchant accounts have been
10     established at Defendant Transact Pro in the name of Empire Partners Limited to
11     process payments for online sales of products to consumers in the United States.
12           14.    Interzoom Capital Limited is a United Kingdom limited company.
13     In its corporate filings, it initially provided as an office address the address of a
14     residential property located in Bedford, United Kingdom, and later changed its
15     address to that of a different residential property located in London, United
16     Kingdom. Its director, as listed in its corporate filings, is a U.S. resident. Its
17     controlling shareholder is Omni Group Limited, which is owned by Phillip Peikos,
18     who resides in the United States. At times material to this Complaint, Apex
19     Capital Group, Phillip Peikos, and David Barnett have used Interzoom Capital
20     Solutions Limited to sell products to U.S.-based consumers, to debit U.S.
21     consumers’ credit cards and financial accounts, to open merchant accounts through
22     which these charges are processed, and to distribute the sales proceeds to Apex
23     Capital Group, Phillip Peikos, and David Barnett. At least six merchant accounts
24     have been established at Defendant Transact Pro in the name of Interzoom Capital
25     Limited to process payments for online sales of products to consumers in the
26     United States.
27           15.    Lead Blast Limited is a United Kingdom limited company. In its
28     corporate filings, it initially provided as an office address the address of a

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 1     residential property located in Bedford, United Kingdom, and later changed its
 2     address to that of a virtual office in London, United Kingdom. Its director, as
 3     listed in its corporate filings, is a U.S. resident. Its sole shareholder is Omni Group
 4     Limited, which is owned by Phillip Peikos, who resides in the United States. At
 5     times material to this Complaint, Apex Capital Group, Phillip Peikos, and David
 6     Barnett have used Lead Blast Limited to sell products to U.S.-based consumers, to
 7     debit U.S. consumers’ credit cards and financial accounts, to open merchant
 8     accounts through which these charges are processed, and to distribute the sales
 9     proceeds to Apex Capital Group, Phillip Peikos, and David Barnett. At least one
10     merchant account has been established at Defendant Transact Pro in the name of
11     Lead Blast Limited to process payments for online sales of products to consumers
12     in the United States.
13            16.    Mountain Venture Solutions Limited is a United Kingdom limited
14     company. In its corporate filings, it initially provided as an office address the
15     address of a residential property located in Bedford, United Kingdom, and later
16     changed its address to that of a virtual office in London, United Kingdom. Its
17     director, as listed in its corporate filings, is a U.S. resident. Its sole shareholder is
18     Omni Group Limited, which is owned by Phillip Peikos, who resides in the United
19     States. At times material to this Complaint, Apex Capital Group, Phillip Peikos,
20     and David Barnett have used Mountain Venture Solutions Limited to sell products
21     to U.S.-based consumers, to debit U.S. consumers’ credit cards and financial
22     accounts, to open merchant accounts through which these charges are processed,
23     and to distribute the sales proceeds to Apex Capital Group, Phillip Peikos, and
24     David Barnett. At least eight merchant accounts have been established at
25     Defendant Transact Pro in the name of Mountain Venture Solutions Limited to
26     process payments for online sales of products to consumers in the United States.
27            17.    Nutra Global Limited is a United Kingdom limited company. In its
28     corporate filings, it initially provided as an office address the address of a

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 1   residential property located in Bedford, United Kingdom, and later changed its
 2   address to that of a virtual office in London, United Kingdom. Its director, as
 3   listed in its corporate filings, is a U.S. resident. Its sole shareholder is Omni Group
 4   Limited, which is owned by Phillip Peikos, who resides in the United States. At
 5   times material to this Complaint, Apex Capital Group, Phillip Peikos, and David
 6   Barnett have used Nutra Global Limited to sell products to U.S.-based consumers,
 7   to debit U.S. consumers’ credit cards and financial accounts, to open merchant
 8   accounts through which these charges are processed, and to distribute the sales
 9   proceeds to Apex Capital Group, Phillip Peikos, and David Barnett. At least one
10   merchant account has been established at Defendant Transact Pro in the name of
11   Nutra Global Limited to process payments for online sales of products to
12   consumers in the United States.
13         18.    Rendezvous IT Limited is a United Kingdom limited company. In
14   its corporate filings, it initially provided as an office address the address of a
15   residential property located in Bedford, United Kingdom, and later changed its
16   address to that of a virtual office in London, United Kingdom. Its sole shareholder
17   is Omni Group Limited, which is owned by Phillip Peikos, who resides in the
18   United States. At times material to this Complaint, Apex Capital Group, Phillip
19   Peikos, and David Barnett have used Rendezvous IT Limited to sell products to
20   U.S.-based consumers, to debit U.S. consumers’ credit cards and financial
21   accounts, to open merchant accounts through which these charges are processed,
22   and to distribute the sales proceeds to Apex Capital Group, Phillip Peikos, and
23   David Barnett. At least one merchant account has been established at Defendant
24   Transact Pro in the name of Rendezvous IT Limited to process payments for online
25   sales of products to consumers in the United States.
26         19.    Sky Blue Media Limited is a United Kingdom limited company. In
27   its corporate filings, it initially provided as an office address the address of a
28   residential property located in Bedford, United Kingdom, and later changed its

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 1   address to that of a different residential property located in London, United
 2   Kingdom. Its controlling shareholder is Omni Group Limited, which is owned by
 3   Phillip Peikos who resides in the United States. At times material to this
 4   Complaint, Apex Capital Group, Phillip Peikos, and David Barnett have used Sky
 5   Blue Media Limited to sell products to U.S.-based consumers, to debit U.S.
 6   consumers’ credit cards and financial accounts, to open merchant accounts through
 7   which these charges are processed, and to distribute the sales proceeds to Apex
 8   Capital Group, Phillip Peikos, and David Barnett. At least eight merchant accounts
 9   have been established at Defendant Transact Pro in the name of Sky Blue Media
10   Limited to process payments for online sales of products to consumers in the
11   United States.
12         20.    Tactic Solutions Limited is a United Kingdom limited company. In
13   its corporate filings, it initially provided as an office address the address of a
14   residential property located in Bedford, United Kingdom, and later changed its
15   address to that of a different residential property located in London, United
16   Kingdom. Its director, as listed in its corporate filings, is a U.S. resident. Its
17   controlling shareholder is Omni Group Limited, which is owned by Phillip Peikos,
18   who resides in the United States. At times material to this Complaint, Apex
19   Capital Group, Phillip Peikos, and David Barnett have used Tactic Solutions
20   Limited to sell products to U.S.-based consumers, to debit U.S. consumers’ credit
21   cards and financial accounts, to open merchant accounts through which these
22   charges are processed, and to distribute the sales proceeds to Apex Capital Group,
23   Phillip Peikos, and David Barnett. At least eight merchant accounts have been
24   established at Defendant Transact Pro in the name of Tactic Solutions Limited to
25   process payments for online sales of products to consumers in the United States.
26         21.    Capstone Capital Solutions Limited, Clik Trix Limited, Lead Blast
27   Limited, Empire Partners Limited, Interzoom Capital Limited, Mountain Venture
28   Solutions Limited, Nutra Global Limited, Rendezvous IT Limited, Sky Blue Media

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 1   Limited, and Tactic Solutions Limited, are collectively referred to herein as the
 2   “UK Corporate Defendants.”
 3         22.    Defendant Phillip Peikos (“Peikos”) resides in Westlake Village,
 4   California. He is the Chief Executive Officer and co-owner of Apex Capital
 5   Group and the sole shareholder and director of Omni Group Limited, which is the
 6   sole or controlling shareholder of all of the UK Corporate Defendants. At all times
 7   material to this Complaint, acting alone or in concert with others, he has
 8   formulated, directed, controlled, had the authority to control, or participated in the
 9   acts and practices of Apex Capital Group, Omni Group Limited, and the UK
10   Corporate Defendants, including the acts and practices set forth in this Complaint.
11   Defendant Peikos resides in this district and, in connection with the matters alleged
12   herein, transacts or has transacted business in this district and throughout the
13   United States.
14         23.    Defendant David Barnett (“Barnett”) is a California resident. He
15   was the Chief Operating Officer of Apex Capital Group. He was a co-owner of
16   Apex Capital Group until at least late 2017. He was also an owner and director of
17   Omni Group Limited until November 2017, when he transferred his shares to
18   Peikos. At times material to this Complaint, acting alone or in concert with others,
19   he formulated, directed, controlled, had the authority to control, or participated in
20   the acts and practices of Apex Capital Group, Omni Group Limited, and the UK
21   Corporate Defendants, including the acts and practices set forth in this Complaint.
22   Defendant Barnett resides in California and, in connection with the matters alleged
23   herein, transacts or has transacted business in this district and throughout the
24   United States.
25         24.    SIA Transact Pro (“Transact Pro”) is an electronic money institution
26   registered with the Enterprise Register of the Republic of Latvia, with a registered
27   address in Riga, Latvia. Transact Pro is a principal member of MasterCard
28   International and Visa Europe. Transact Pro provides payment processing

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 1   services, checking accounts, corporate credit cards, and corporate formation
 2   services to merchants. Transact Pro’s owner and Chief Executive Officer,
 3   Defendant Mark Moskvins, is a U.S. resident, who conducted business on behalf of
 4   Transact Pro while in the United States.
 5         25.    Between 2015 and 2018, Transact Pro set up numerous merchant
 6   accounts in the names of the UK Corporate Defendants with two Latvian banks,
 7   JSC Rietumu Banka and Baltikums Bank AS (the “Latvian Banks”), knowing that
 8   Apex Capital Group and Defendants Peikos and Barnett were the beneficiaries, and
 9   that Apex Capital Group and Defendants Peikos and Barnett were U.S. residents.
10   Indeed, Transact Pro regularly targeted as clients U.S.-based merchants, such as
11   Apex Capital Group. For example, Transact Pro sent representatives to, and hosted
12   a party at, a digital marketing conference in San Francisco, California in 2014,
13   attended by numerous existing and potential clients. Transact Pro also entered into
14   a referral agreement with a company called Triangle Holdings Limited (“Triangle
15   Holdings”), which provided customer relationship management services mainly to
16   U.S. merchants. Triangle Holdings, which is part of an enterprise recently sued by
17   the FTC, agreed to refer its merchant clients to Transact Pro for payment
18   processing services in exchange for a commission. In communications with
19   Triangle Holdings, Transact Pro offered to create European shell companies for
20   those merchants that did not already have European corporate entities.
21         26.    Transact Pro not only targeted U.S. merchants as clients, but it also
22   intentionally set up numerous merchant accounts to process payments in U.S.
23   dollars, allowing those clients to sell their products to U.S. consumers. Between
24   2015 and 2018, Transact Pro arranged for at least 50 merchant accounts to process
25   payments in U.S. dollars for the benefit of Apex Capital Group and Defendants
26   Peikos and Barnett. Transact Pro knew that these dollar-denominated merchant
27   accounts would be used, and that they were in fact used, to debit the credit cards
28   and financial accounts of U.S. consumers. Millions of dollars of these funds were

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 1   ultimately transferred back to Apex Capital Group’s U.S. bank account, and from
 2   there disbursed to Defendants Peikos and Barnett. No American financial
 3   authority regulates SIA Transact Pro and it has no U.S. branches.
 4         27.    Mark Moskvins (“Moskvins”) is a Florida resident. He is an owner
 5   and Chief Executive Officer of Transact Pro. At all times material to this
 6   Complaint, acting alone or in concert with others, he has formulated, directed,
 7   controlled, had the authority to control, or participated in the acts and practices of
 8   Transact Pro, including the acts and practices set forth in this Complaint.
 9   Defendant Moskvins, in connection with the matters alleged herein, transacts or
10   has transacted business in this district and throughout the United States.
11                               COMMON ENTERPRISE
12         28.    Defendant Apex Capital Group, Omni Group Limited, and the UK
13   Corporate Defendants have operated as a common enterprise while engaging in the
14   deceptive and unfair acts and practices, and other violations of law, alleged below.
15   They have conducted the business practices described below through an
16   interrelated, international network of dozens of shell companies that have common
17   ownership, officers, managers, business functions and practices, and office
18   locations (together, the “Apex Operation”). The companies regularly transfer
19   funds among their corporate bank accounts, ultimately funneling money into a
20   single, centralized account at Citibank, N.A. (the “Apex Citi Account”), from
21   which the Apex Operation’s expenses are withdrawn and funds distributed to
22   Defendants Peikos and Barnett.
23         29.    Because Apex Capital Group, Omni Group Limited, and the UK
24   Corporate Defendants operate with the other entities in the Apex Operation as a
25   common enterprise, each of them is jointly and severally liable for the acts and
26   practices alleged below.
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 1         30.    Defendants Peikos and Barnett are or have been owners, officers,
 2   organizers, and/or beneficiaries of Apex Capital Group, Omni Group Limited, and
 3   the UK Corporate Defendants.
 4         31.    Defendants Peikos and Barnett have formulated, directed, controlled,
 5   had the authority to control, or participated in the acts and practices of Apex
 6   Capital Group, Omni Group Limited, and the UK Corporate Defendants that
 7   constitute the common enterprise.
 8                                       ALTER EGO
 9         32.    As stated in Paragraphs 9-20 and 22-23, there is such a unity of
10   interest between Omni Group Limited and the UK Corporate Defendants, and
11   Apex Capital Group, Peikos, and Barnett, that Omni Group Limited and the UK
12   Corporate Defendants are alter egos of Apex Capital Group, Peikos, and Barnett.
13   Omni Group Limited and the UK Corporate Defendants are or have been
14   dominated and controlled by Peikos and Barnett, and were created to facilitate the
15   Apex Capital Group enterprise.
16         33.    Failure to disregard Omni Group Limited and the UK Corporate
17   Defendants’ corporate forms would sanction a deception or injustice by shielding
18   and safeguarding them from liability for their role in a scheme that has caused tens
19   of millions of dollars in consumer injury. Omni Group Limited and the UK
20   Corporate Defendants would be unjustly enriched if permitted to keep money
21   obtained from consumers through deception and through their participation in the
22   Apex Capital Group enterprise.
23         34.    This Court has personal jurisdiction over Omni Group Limited and the
24   UK Corporate Defendants because they are alter egos of Apex Capital Group,
25   Peikos, and Barnett, individually and/or collectively.
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 1                                      COMMERCE
 2         35.    At all times material to this Complaint, Defendants have maintained a
 3   substantial course of trade in or affecting commerce, as “commerce” is defined in
 4   Section 4 of the FTC Act, 15 U.S.C. § 44.
 5               THE APEX DEFENDANTS’ BUSINESS ACTIVITIES
 6   I.    The Apex Operation’s Subscription Scam
 7         A.     The Corporate Network
 8         36.    Through the Apex Operation, the Apex Defendants have marketed
 9   and sold more than 50 different products, most of which allegedly promote weight
10   loss, hair growth, clear skin, muscle development, sexual performance, and
11   cognitive abilities. The Apex Operation began in early 2014, when Defendants
12   Peikos and Barnett used Apex Capital Group, the main operating company, and
13   other entities to receive payments from consumers for these products. Consumer
14   funds are funneled through other entities’ bank accounts into the Apex Citi
15   Account, Apex Capital Group’s main bank account. Defendants Peikos and
16   Barnett have been co-signatories on the Apex Citi Account, from which they have
17   received millions of dollars.
18         37.    Defendants Peikos and Barnett formed, or caused to be formed, at
19   least 32 limited liability companies in Wyoming between August 2013 and March
20   2016 (the “Wyoming Companies”) to obtain merchant accounts in the United
21   States that would allow them to debit consumers’ credit cards and financial
22   accounts. The Wyoming Companies do not conduct any business and have had no
23   employees. They are listed in Exhibit A to this Complaint.
24         38.    In order to obtain merchant accounts in the name of the Wyoming
25   Companies, Defendants Peikos and Barnett caused merchant account applications
26   to be submitted to payment processing entities that listed individual signors as the
27   principal owners of the companies. At least thirteen individuals who are California
28   residents (some of whom were relatives or neighbors of an Apex Capital Group

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 1   employee) were used by Defendants Peikos and Barnett as signors on these
 2   merchant applications. The signors received a monthly “commission” payment of
 3   approximately $1,000 from the Apex Citi Account. Other than acting as signors on
 4   the merchant applications, these individuals did not engage in any business
 5   functions on behalf of the Wyoming Companies.
 6         39.   From early 2014 through at least mid-2015, Defendants Peikos and
 7   Barnett used merchant accounts in the names of certain of the Wyoming
 8   Companies to process consumers’ payments for purported weight-loss and skin
 9   care products under brand names such as Authentic Yacon, Original Garcinia,
10   Dermanique, Lumera, Juveliere, and Rejuvius.
11         40.   By the middle of 2015, Defendants Peikos and Barnett had begun to
12   use merchant accounts in the names of certain of the Wyoming Companies to
13   process consumer payments for online sales of purported sexual performance,
14   muscle-building, hair-growth, and cognitive enhancement products under brand
15   names such as Evermax, Celexas, Virility X3, TestoXR, Follicure, and NeuroXR.
16         41.   The funds from sales processed through certain of the Wyoming
17   Companies’ merchant accounts were deposited into bank accounts in the names of
18   those companies and then transferred, either directly or through intermediary
19   accounts, to the Apex Citi Account.
20         42.   Beginning in July 2014, Defendants Peikos and Barnett also formed,
21   or caused to be formed, at least 37 limited companies in the United Kingdom,
22   including the UK Corporate Defendants (altogether, the “UK Companies”). These
23   companies were formed to obtain merchant accounts offshore in order to debit U.S.
24   consumers’ credit cards and financial accounts held in the U.S. and to process
25   payments made by U.S. consumers for products marketed and sold by the Apex
26   Operation. The UK Companies are listed in Exhibit B to this Complaint.
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 1         43.    In many instances, the individuals named as directors of the UK
 2   Companies are the same California residents used as signors on merchant account
 3   applications submitted in the name of the Wyoming Companies.
 4         44.    Apex Capital Group and Defendants Peikos and Barnett used the UK
 5   Corporate Defendants to open at least fifty merchant accounts at Transact Pro.
 6   These merchant accounts were used to process payments from U.S. consumers’
 7   credit cards and financial accounts related to their purchases of the Apex
 8   Defendants’ products, including Biogenic XR, Evermax, and Virility X3.
 9         45.    From May 2015 through 2017, offshore bank accounts associated with
10   the UK Corporate Defendants and Omni Group Limited transferred approximately
11   twelve million dollars to Apex Capital Group.
12         B.     The Apex Operation’s Deceptive Trial Offers
13         46.    The Apex Defendants have registered more than one thousand
14   websites, many of which they use or have used to market and sell their products.
15   The websites’ addresses have both US and UK domains (i.e. .com and .co.uk),
16   including for instance trybiogenic.com, eliteprosup.com, follicurehair.com,
17   tryneuroxr.com, healthshop1.com, tryevermax.com, virilitydirect.com,
18   bestcelex.co.uk, biogenicxricltd.co.uk, and interzoom.co.uk.
19         47.    Many of these websites purport to offer “free” or “risk free” trials of
20   the products that include a negative option feature that is either not disclosed or is
21   poorly disclosed in a manner that is neither clear nor conspicuous. Consumers,
22   without their informed consent, are then charged for products that are shipped to
23   them each month until they take action to cancel and, sometimes, even after
24   cancelling. These websites include: biogenicxr.com, celexas.com,
25   tryevermax.com, and tryneuroxr.com.
26         48.    The Apex Defendants obtain consumers’ credit or debit card
27   information by enticing them to sign up for supposedly “free” or “risk-free” trials
28   of the products with the only charge being a shipping and handling fee (typically

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 1   $4.95). At the initial time of purchase, the consumer is charged $4.95, and she is
 2   shipped a full month’s supply of the product. Approximately two weeks later, if
 3   the consumer has not affirmatively cancelled her order and returned the product,
 4   her credit or debit card is charged the full price of the product (typically about
 5   $90). Each month thereafter, the consumer is shipped a month’s supply of the
 6   product, and is charged about $90, until she calls to cancel. Cancellation, as
 7   described below, is a difficult and time-consuming process. Some consumers
 8   continue to be charged even after they cancel.
 9         49.    The Apex Defendants market the products online through a variety of
10   means, including advertisements hosted on third-party websites, purported Internet
11   surveys and contests, social media advertisements, email, and search engine
12   advertisements, such as Google Ads. In numerous instances, these advertisements
13   claim to offer a “FREE BOTTLE” or a “RISK FREE” TRIAL and promise
14   “SATISFACTION GUARANTEED 100%.”
15         50.    For example, the following advertisement for the Apex Defendants’
16   purported memory-boosting product, NeuroXR, promises consumers a “free one
17   month supply of NeuroXR” if they click on the prominent link to “GET YOUR
18   FREE BOTTLE.”
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 1         51.    Numerous advertisements promoting trial offers of the products fail to
 2   explain the material terms and conditions of the purchase, including that
 3   consumers will be charged for the full cost of the products if they do not cancel
 4   their orders within a short period of time. Similarly, numerous advertisements do
 5   not explain that consumers will be enrolled automatically in autoship programs,
 6   whereby the consumers will continue to receive, and be billed for, additional
 7   supplies of the products on a monthly basis. On the contrary, advertisements for
 8   the Apex Defendants’ products claim that they are “free” or “risk free.”
 9         C.     The Apex Operations’ Trial Offers Ordering Process
10         52.    After consumers click on links in advertisements for the Apex
11   Defendants’ products, they are transferred to webpages on the Apex Defendants’
12   websites called “landing pages.” Landing pages typically include windows for
13   consumers to enter their contact information. Once consumers enter their contact
14   information, they are transferred to other webpages called “order pages,” where
15   they are directed to enter their payment information.
16         53.    Numerous landing pages contain claims similar to those made in the
17   advertisements. For example, a landing page for a sexual performance product
18   called Biogenic XR included misrepresentations that the trial would be “free” for
19   consumers:
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 1         54.    These landing pages do not typically include clear or conspicuous
 2   disclosures explaining the terms of the trial offer. For example, a landing page on
 3   the Apex Defendants’ website for NeuroXR does not include any visible
 4   disclosures about the terms and conditions of the trial offer, such as (1) that
 5   consumers would be charged the full cost of the product if they did not cancel the
 6   trial offer within a short period of time; (2) that consumers would be enrolled
 7   automatically in autoship programs, pursuant to which the Apex Defendants would
 8   send them additional products each month and would charge them accordingly
 9   until they took steps to cancel the autoship program; or (3) that the trial offer
10   included onerous cancellation and refund policies. Instead, on this landing page,
11   the consumer enters only his or her contact information and then, after making the
12   determination that he or she would like to receive the trial offer, clicks a button
13   that says, “RUSH MY TRIAL.” Only if the consumer scrolls down several page
14   lengths to the bottom of the landing page will she come across a “Terms &
15   Conditions” link, appearing in very small font. Only by clicking on that remote
16   link may consumers view information regarding their enrollment in continuity
17   programs with recurring charges.
18         55.    Numerous order pages where consumers enter their payment
19   information either (i) contain inadequate disclosures of the terms of the trial offer
20   that are not clear or conspicuous; or (ii) lack disclosures of the terms of the trial
21   offer entirely. For example, after clicking the “RUSH MY TRIAL” button on the
22   NeuroXR landing page, consumers are directed to an order page on the NeuroXR
23   website where they are required to enter their billing information. On this order
24   page, there are no visible disclosures regarding the terms of the trial offer. Again,
25   only by clicking on the “Terms” link could consumers learn about the short trial
26   period, the fact that they will be charged the full cost of the product at the end of
27   the trial period, and that if they order the trial they will be enrolled in an autoship
28   program with recurring shipments and recurring charges. The terms link is in

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 1   small print toward the bottom of the webpage, away from the “COMPLETE
 2   CHECKOUT” button, and overshadowed by larger text and graphics on the page:
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19         56.    Where order pages for the Apex Defendants’ products do contain
20   disclosures regarding the terms of the trial offer on the page itself, those
21   disclosures typically are not clear or conspicuous. For example, one order page for
22   Biogenic XR contains a disclosure near the middle of the page regarding
23   enrollment in the autoship program. The disclosure appears in small type and in
24   light-gray font against a white background. This disclosure is overshadowed by
25   the prominent, bold “FREE TRIAL” language that is higher up on the webpage.
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22         D.     The Apex Operation’s Offers for Upsell or Add-On Products
23         57.    After consumers enter their credit or debit card information and
24   submit their orders to purchase trials of the Apex Defendants’ products, they are
25   often directed to webpages that invite them to sign up for a second trial of other,
26   allegedly related products, i.e. upsell or add-on products.
27         58.    For example, Plaintiff purchased online several of the Apex
28   Defendants’ products in the course of its investigation. After submitting payment

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 1   information to purchase a trial of one such product called NeuroXR, and clicking
 2   the “COMPLETE CHECKOUT” button, a pop-up offer for a different product
 3   called NeuroXR Sleep appeared on the screen. The pop-up contained what
 4   appeared to be an advertisement with a perforated border in the style of a cut-out
 5   coupon; inside the coupon the advertisement stated, “ADD AN ADDITIONAL
 6   TRIAL AT ONLY $4.97.” Underneath and outside of that box was a separate
 7   button stating “COMPLETE CHECKOUT.” Below the “COMPLETE
 8   CHECKOUT” button, in small, faint print, the Apex Defendants included a
 9   hyperlink that consumers could click to decline the second offer.
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22         59.    The format of the website suggested that the “COMPLETE
23   CHECKOUT” button was the final step in completing the purchase of the original
24   NeuroXR trial. In fact, Plaintiff’s order was already complete after entering credit
25   card information on the previous screen. Plaintiff was enrolled in a second trial
26   program in which Plaintiff was shipped a second product, NeuroXR Sleep, and
27   was charged $4.95 twice.
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 1         60.    Numerous consumers who inadvertently purchase an upsell product
 2   are charged $4.95 for each purported trial, and then about two weeks later are
 3   charged the full price of both products. Numerous consumers are enrolled in
 4   autoship programs for both products, continuing to receive shipments of both
 5   products each month until they take affirmative steps to cancel.
 6         61.    After consumers place orders for the Apex Defendants’ products,
 7   some receive no confirmation email whatsoever; others receive a confirmation
 8   email that lists only the $4.95 shipping and handling charge. The confirmation
 9   email thus reinforces the false impression from the websites that, other than the
10   obligation to pay shipping and handling, the trial product is free.
11         E.     The Apex Operation’s Onerous Cancellation and Refund Practices
12         62.    In numerous instances, consumers who order trials of the Apex
13   Defendants’ products report that the Apex Defendants charge them without their
14   knowledge or consent for the full price of these products and sign them up for
15   continuity programs. Many consumers then attempt to cancel their enrollment in
16   the continuity programs and to obtain refunds of the Apex Defendants’
17   unauthorized charges, but they often have difficulty cancelling and obtaining
18   refunds.
19         63.    Numerous consumers who call the Apex Defendants to cancel have a
20   difficult time reaching customer service representatives, despite calling several
21   times. Some consumers are placed on hold for more than an hour. Other
22   consumers report that they were given incorrect customer service numbers. Even
23   if they were able to reach a customer service representative to request cancellation,
24   numerous consumers report that they continued to receive and to be charged for
25   shipments of the Apex Defendants’ products.
26         64.    Consumers also encounter a range of difficulties when they attempt to
27   obtain refunds from the Apex Defendants for the unauthorized charges. Some
28   consumers who request refunds are told that they cannot get refunds because the

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 1   requests were untimely; customer service representatives report that the products’
 2   terms and conditions require refund requests to be made within 30 days of
 3   ordering. Where the refund period has not lapsed, some consumers are told they
 4   can only get a refund if the trial product is returned unopened and at the
 5   consumer’s expense. Some consumers who have attempted to return products are
 6   nonetheless told that they will not be refunded because the company allegedly
 7   never received the products. In numerous instances, moreover, consumers are
 8   provided with a return address that is not the company’s true address.
 9         65.    Consumers often attempt to get their money back by initiating
10   “chargebacks” with their credit card companies. Many consumers ultimately
11   cancel their credit or debit cards to ensure they will not be subjected to additional
12   unauthorized charges.
13   II.   The Apex Operation’s Credit Card Laundering Activities
14         A.     Background on Merchant Accounts and Credit Card Laundering
15         66.    In order to accept credit card payments from consumers, a merchant
16   must establish a merchant account with a merchant acquiring bank or “acquirer.”
17   A merchant account is a type of account that allows businesses to process
18   consumer purchases by credit or debit cards.
19         67.    Acquirers enter into contracts with entities known as payment
20   processors that manage the bank’s merchant processing program. Payment
21   processors in turn frequently enter contracts with multiple “independent sales
22   organizations” (“ISOs”) to sign up merchants for merchant accounts with the
23   acquirer.
24         68.    The acquirer has access to the credit card associations (“card
25   networks”), such as MasterCard and VISA. The card networks require all
26   participants in their networks, including the acquirers and their registered ISOs, to
27   comply with detailed rules governing the use of the card networks. These rules
28   include screening processes and underwriting standards for merchants, to ensure

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 1   that they are legitimate, bona fide businesses, and to screen out merchants engaged
 2   in potentially fraudulent or illegal practices. The rules also prohibit credit card
 3   laundering, which is the practice of processing credit card transactions through
 4   another company’s merchant account.
 5         69.    Merchants that pose a heightened risk of fraud to the card networks
 6   may be subject to closer scrutiny or may be denied merchant accounts. For
 7   example, the ISO or acquirer may be concerned that the merchant is engaged in
 8   illegal activity or will generate excessive rates of transactions returned by
 9   consumers (“chargebacks”).
10         70.    Consumers initiate “chargebacks” when they dispute credit card
11   charges by contacting their “issuing bank,” which is the bank that issued the credit
12   card to the consumer. When a consumer successfully disputes the charge, the
13   consumer’s issuing bank credits the consumer’s credit card for the disputed
14   amount, and then recovers the chargeback amount from the acquirer (the
15   merchant’s bank). The acquirer, in turn, collects the chargeback amount from the
16   merchant.
17         71.    In order to detect and prevent illegal, fraudulent, or unauthorized
18   merchant activity, the card networks operate various chargeback monitoring and
19   fraud monitoring programs. These chargeback monitoring programs are designed
20   to flag merchant accounts with excessive chargeback ratios or an excessive number
21   of chargebacks. For example, if a merchant generates excessive levels of
22   chargebacks that exceed the thresholds set under VISA’s chargeback monitoring
23   program, the merchant is subject to additional monitoring requirements and, in
24   some cases, penalties and termination.
25         72.    Credit card laundering is commonly used by fraudulent merchants
26   who cannot meet a bank’s underwriting criteria or who cannot obtain merchant
27   accounts under their own names (whether because of excessive chargebacks,
28   complaints, or other signs of illegal activity).

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 1         73.    Even when fraudulent merchants can qualify for a merchant account,
 2   they may engage in laundering as a way to conceal their true identity from
 3   consumers, the card networks, and law enforcement agencies.
 4         74.    To conceal their identities, fraudulent merchants may create shell
 5   companies to act as fronts, and apply for merchant accounts under these shell
 6   companies. Once the merchant accounts are approved, the fraudulent merchant
 7   then launders its own transactions through the shell company’s merchant accounts.
 8         75.    Fraudulent merchants may create multiple merchant accounts in order
 9   to maintain continued access to the card networks in the event any of the
10   merchant’s accounts are terminated.
11         76.    Fraudulent merchants often generate excessive numbers and rates of
12   chargebacks from consumers who dispute their credit card charges. To avoid
13   triggering the card networks’ chargeback monitoring programs and attracting the
14   scrutiny of the acquirer, fraudulent merchants often spread out their sales
15   transaction volume across multiple merchant accounts – a practice commonly
16   referred to as “load balancing.” Load balancing allows merchants to keep the total
17   number of chargebacks in each merchant account below a given threshold.
18         77.      The card networks and acquirers also review the ratio of chargebacks
19   to total sales in a merchant account. Fraudulent merchants can avoid scrutiny and
20   maintain access to their merchant accounts for longer periods by keeping this ratio
21   below a given threshold. One method used to lower this ratio involves running
22   additional transactions that do not reflect bona fide sales to consumers through
23   their own merchant accounts, thereby artificially increasing the total number of
24   sales and reducing the chargeback ratio. These transactions typically have a low
25   dollar value, such as fifty cents or one dollar, in order to keep the total cost low.
26   This practice is often referred to in the industry as “VAP” or “microtransactions.”
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 1         B.     Apex Capital Group and Defendants Peikos and Barnett Caused the
 2         Laundering of Transactions Through Numerous Shell Companies’ Merchant
 3         Accounts
 4         78.    Apex Capital Group and Defendants Peikos and Barnett engaged in a
 5   scheme to apply for a large number of merchant accounts in the name of shell
 6   companies, including the UK Corporate Defendants, through which they could
 7   launder charges to consumers’ credit or debit card accounts.
 8         79.    As part of this scheme, Apex Capital Group and Defendants Peikos
 9   and Barnett created or caused to be created numerous shell companies, including
10   Omni Group Limited and the UK Corporate Defendants. The purported directors
11   of the UK Corporate Defendants are all straw owners who reside in the U.S.; the
12   UK Corporate Defendants are in fact controlled by Peikos through Omni Group
13   Limited. Omni Group Limited and the UK Corporate Defendants participated in
14   the scheme by allowing charges to be laundered through merchant accounts opened
15   in the names of the UK Corporate Defendants.
16         80.    During the period of May 2014 through July 2017, Apex Capital
17   Group and Defendants Peikos and Barnett, directly or through agents acting on
18   their behalf and for their benefit, submitted dozens of deceptive merchant
19   applications in the name of at least thirteen domestic shell companies to multiple
20   ISOs for their underwriting approval.
21         81.    The thirteen companies include: Apres Vous Media LLC; Based
22   Capital, LLC; Cascade Canyon, LLC; Confidential Holdings, LLC; Cornice
23   Group, LLC; Horizon Media, LLC; Interzoom, LLC; Mountain Range Solutions,
24   LLC; Old West Equity, LLC; Singletrack Solutions, LLC; Sky Media Group, LLC;
25   Teton Pass, LLC; and Wyoming Freedom Group, LLC. The applications listed at
26   least ten nominees as the purported principal owners of these shell companies.
27         82.    When applying for a merchant account, merchants often submit with
28   the applications copies of voided checks drawn on their business bank accounts,

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 1   with the understanding that credit card sales revenues will be transferred into these
 2   accounts.
 3         83.    At least ten merchant applications submitted in the name of domestic
 4   shell companies included checks that reflected the existence of business bank
 5   accounts in the name of the shell companies. Each check had been altered to
 6   include the straw owner’s name, even though none of the straw owners were
 7   signatories of any of the accounts. Indeed, for multiple merchant account
 8   applications, the Apex Defendants attached or caused to be attached the same
 9   check number for the same bank account with different names on it.
10         84.    For example, the following check was submitted as part of an
11   application to open a merchant account for a product called Optimal Pet:
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18   While the name of straw owner Graciela Vasquez is listed on the check, a copy of
19   a check with the same checking account and the same check number was submitted
20   as part of a different merchant account application, for a product called Ultra, with
21   a different straw owner, Juliana Pineda, listed on the check:
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 1         85.      The two copies of checks attached to the merchant account
 2   applications were doctored. Neither Ms. Vasquez nor Ms. Pineda were signatories
 3   on the Wells Fargo account ending x1101. In fact, Defendant Peikos is a signatory
 4   on that account.
 5         86.      Multiple ISOs approved the merchant account applications, set up
 6   merchant accounts for each of the thirteen shell companies, and began processing
 7   payments through acquiring banks. When payments for the Apex Defendants’
 8   products were processed through the merchant accounts that the Apex Defendants
 9   secured in the names of the shell companies, the sales revenues were automatically
10   transferred into the shell companies’ Wells Fargo bank accounts. From there, the
11   shell companies transferred consumers’ money, directly or through intermediary
12   accounts, into the Apex Citi Account.
13         87.      The Apex Defendants secured more than forty merchant accounts
14   based on these false merchant applications; nearly all of them were subsequently
15   closed. Numerous merchant accounts were closed due to excessive chargeback
16   levels.
17         C.       Transact Pro and Moskvins Actively Participated in the Apex
18         Operation’s Credit Card Laundering and Manipulation of Chargeback
19         Levels
20         88.      Transact Pro provided payment processing services to the Apex
21   Defendants. Transact Pro approved and helped open more than fifty merchant
22   accounts for the Apex Operation with the Latvian Banks. These accounts were
23   opened in the name of the UK Corporate Defendants, along with other shell
24   companies, between 2015 and 2018. In this period, Transact Pro processed
25   approximately 17.78 million pounds and 18 million U.S. dollars through the
26   accounts, and was paid approximately 3.4 million pounds and 2.1 million dollars in
27   fees. These fees included a percentage of the sales processed through the merchant
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 1   accounts as well as flat fees for each chargeback. These merchant accounts were
 2   used to launder sales transactions for the Apex Operation.
 3         89.    The Transact Pro Defendants knew that the shell companies and
 4   nominee directors listed on the merchant account applications were not the true
 5   beneficiaries of sales made through these accounts. Although the merchant
 6   account applications included the names and contact information for the nominee
 7   directors, the Transact Pro Defendants instead communicated with Apex Capital
 8   Group employees, Defendant Peikos, and/or Defendant Barnett. The Transact Pro
 9   Defendants regularly transmitted transaction reports to Apex Capital Group
10   employees, Defendant Peikos, and/or Defendant Barnett. The reports aggregated
11   numerous merchant accounts issued in the names of various shell corporations that
12   each comprised a portion of the Apex Operation.
13         90.    Moreover, the Transact Pro Defendants knew at the time they
14   received the merchant account applications that the applications listed shell
15   corporations and nominee directors. Nonetheless, they approved the merchant
16   accounts, helped open them, and processed consumers’ payments through them.
17   On numerous occasions, Apex Capital Group employees or Defendant Peikos
18   transmitted groups of merchant account application packages in the names of
19   various shell companies directly to Transact Pro for approval, typically copying
20   Defendant Moskvins. In some instances, the merchant account application
21   packages indicated that these accounts were for “USD MIDS” (or for U.S. sales).
22         91.    Throughout 2015 to 2018, the Transact Pro Defendants caused
23   consumers’ credit or debit accounts to be charged by the Apex Operation’s
24   deceptive internet marketing scam by underwriting and approving dozens of
25   merchant accounts, establishing merchant accounts for the Apex Operation with
26   the Latvian Banks, and processing payments for these merchant accounts.
27         92.    In the course of managing these merchant accounts for the Apex
28   Operation, the Transact Pro Defendants received information about high

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 1   chargeback rates that they should have used to investigate and require corrections
 2   to the Apex Operation’s deceptive marketing practices. Instead, the Transact Pro
 3   Defendants used this information to enable the Apex Operation to engage in load
 4   balancing and microtransactions, allowing them to avoid detection by the card
 5   associations or termination by the acquiring banks.
 6         93.    Specifically, the Transact Pro Defendants enabled load balancing by
 7   opening numerous low transaction volume merchant accounts for the purpose of
 8   spreading sales volumes for products sold by the Apex Operation across multiple
 9   merchant accounts. This conduct served to artificially reduce the chargeback
10   levels in each account.
11         94.    Defendant Peikos expressly informed the Transact Pro Defendants
12   that he sought additional merchant accounts in order to engage in load balancing.
13   In an email dated July 1, 2015, Defendant Peikos wrote to Defendant Moskvins,
14   copying Defendant Barnett and others, that an Apex Capital employee would be
15   sending applications for a number of merchant accounts, noting: “This will help us
16   greatly spread the volumes across the board and ensure both Hard counts and ratios
17   are in line.” In another exchange, Defendant Moskvins likewise offered to
18   Defendant Peikos to “board more corps . . . for your existing volume so to spread
19   the traffic hence be below the [chargeback] count.”
20         95.    In addition, the Transact Pro Defendants caused the chargeback ratios
21   of the Apex Operation’s merchant accounts to be artificially reduced through
22   microtransactions, which were run at times by Transact Pro itself, and at other
23   times by the Apex Defendants. The Transact Pro Defendants sold the Apex
24   Operation prepaid gift cards, which were used to make many thousands of
25   individual transactions in small dollar amounts that were unlikely to result in
26   consumer chargebacks. By running these microtransactions through the Apex
27   Operation’s merchant accounts, the Transact Pro Defendants artificially diluted the
28   ratio of sales to chargebacks in the accounts.

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 1         96.     The Transact Pro Defendants actively participated in effecting
 2   microtransactions in a variety of ways.
 3         97.     Defendant Transact Pro provided calculations of the number of
 4   microtransactions that had to be run through a given merchant account by the end
 5   of that month to ensure that the chargeback ratio would drop below a certain
 6   threshold.
 7         98.     Defendant Moskvins also instructed Mr. Peikos on the specific
 8   chargeback levels and ratios to achieve in order to avoid scrutiny by the acquiring
 9   banks and/or credit card associations.
10         99.     In numerous instances, Defendant Moskvins instructed Transact Pro’s
11   support staff to increase a volume cap on merchant accounts in order to allow the
12   Apex Operation to run additional microtransactions to reduce chargeback ratios.
13   For example:
14                In an email dated September 30, 2016, an Apex Capital Group
15                 employee emailed Defendant Moskvins: “Mark, We need additional
16                 volume to run more VAP, can you please approve an additional 2k per
17                 [merchant account] ASAP to hit our marks.” Defendant Moskvins
18                 replied, copying Transact Pro’s support team, “Support: pls do.”
19                On January 27, 2017, an employee of Apex Capital Group emailed
20                 Defendant Moskvins and Transact Pro’s support team: “We need to
21                 run VAP to these [merchant accounts] and are having issues. . . . This
22                 one is capped. Can you give us an extra 10K to run VAP?”
23                 Defendant Moskvins replied, “Yes, for vap.”
24                On February 22, 2017, an employee of Apex Capital Group emailed
25                 Defendant Moskvins: “Mark, we need every single [merchant
26                 account] increased by 5k to run VAP successfully.” Defendant
27                 Moskvins responded, “Yes if it is vap no prob.”
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 1         100. In still other instances, Defendant Moskvins directed Transact Pro to
 2   run microtransactions itself through the Apex Operation’s merchant accounts.
 3         101. Up until the time the Complaint was filed, on November 14, 2018, the
 4   Transact Pro Defendants were continuing to engage in the unlawful conduct.
 5   Many of the Transact Pro merchant accounts had been closed by the spring of
 6   2018, but some accounts remained open, receiving payments in U.S. dollars
 7   through at least September 2018. Moreover, Transact Pro was preparing to open
 8   merchant accounts for the Apex Defendants at a third bank, Decta Limited, in the
 9   fall of 2018. In an email to Defendant Peikos dated October 16, 2018, a Transact
10   Pro employee offered to issue new merchant accounts to numerous shell
11   companies of the Apex Operation, including Rendezvous IT, Lead Blast Limited,
12   Nutra Global Limited, and others, using Decta Bank as the acquirer. The Transact
13   Pro employee offered to set up the accounts such that Decta would pay out
14   processed funds from each of the shell corporation’s merchant accounts to a single
15   bank account held by Defendant Omni Group Limited. The Transact Pro
16   Defendants continued these efforts to open new merchant accounts for the Apex
17   Defendants through at least mid-November 2018.
18         102. In sum, the Transact Pro Defendants repeatedly engaged in a variety
19   of actions to reduce the number and ratio of chargebacks in numerous merchant
20   accounts that they knew were opened in the names of shell companies using
21   nominee directors. These practices enabled the Apex Operation to continue
22   charging consumer credit card and financial accounts and to avoid or delay
23   detection by chargeback monitoring programs for an extended period.
24                             VIOLATIONS OF THE FTC ACT
25         103. Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or
26   deceptive acts or practices in or affecting commerce.”
27         104. Misrepresentations or deceptive omissions of material fact constitute
28   deceptive acts or practices prohibited by Section 5(a) of the FTC Act.

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 1         105. Acts or practices are unfair under Section 5 of the FTC Act if they
 2   cause or are likely to cause substantial injury to consumers that consumers cannot
 3   reasonably avoid themselves and that is not outweighed by countervailing benefits
 4   to consumers or competition. 15 U.S.C. § 45(n).
 5                                            COUNT I
 6                       Misrepresentations of the Price of the Trial Offers
 7                              (Against the Apex Defendants)
 8         106. In numerous instances, in connection with the advertising, marketing,
 9   promotion, offering for sale, or sale of products the Apex Defendants have
10   represented, directly or indirectly, expressly or by implication, that they will
11   charge consumers at most only a shipping and handling fee for a one-time
12   shipment of their product.
13         107. In truth and in fact, in numerous instances in which the Apex
14   Defendants have made the representation set forth in Paragraph 106 of this
15   Complaint, they have charged consumers more than a shipping and handling fee
16   for one or more shipments of the Apex Defendants’ product.
17         108. Therefore, the Apex Defendants’ representation described in
18   Paragraph 106 of this Complaint is false and misleading, and constitutes a
19   deceptive act or practice in violation of Section 5(a) of the FTC Act, 15 U.S.C.
20   § 45(a).
21                                        COUNT II
22                      Misrepresentation that Order is Not Complete
23                              (Against the Apex Defendants)
24         109. In numerous instances, in connection with the advertising, marketing,
25   promotion, offering for sale, or sale of personal care products to consumers who
26   have already ordered a trial of one of the Apex Defendants’ products, the Apex
27   Defendants have represented, directly or indirectly, expressly or by implication,
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 1   that consumers’ initial orders are not complete and that clicking the “COMPLETE
 2   CHECKOUT” or similar button will merely complete their initial orders.
 3         110. In truth and in fact, in numerous instances in which the Apex
 4   Defendants have made the representation set forth in Paragraph 109 of this
 5   Complaint, consumers’ initial orders were complete, and clicking the
 6   “COMPLETE CHECKOUT” or similar button ordered an additional product and
 7   enrolled consumers in a continuity plan for that product.
 8         111. Therefore, the Apex Defendants’ representation described in
 9   Paragraph 109 of this Complaint is false and misleading, and constitutes a
10   deceptive act or practice in violation of Section 5(a) of the FTC Act, 15 U.S.C.
11   § 45(a).
12                                           COUNT III
13               Failure to Disclose Adequately Material Terms of Trial Offer
14                              (Against the Apex Defendants)
15         112. In numerous instances, in connection with the advertising, marketing,
16   promotion, offering for sale, or sale of personal care products, the Apex
17   Defendants have represented, directly or indirectly, expressly or by implication,
18   that consumers can obtain a trial of the Apex Defendants’ product for the cost of
19   shipping and handling, or for free.
20         113. In numerous instances in which the Apex Defendants have made the
21   representation set forth in Paragraph 112 of this Complaint, the Apex Defendants
22   have failed to disclose, or disclose adequately to consumers, material terms and
23   conditions of their offer, including:
24         (a)     The total cost of the product;
25         (b)     That the Apex Defendants will charge consumers the total cost of the
26   product upon the expiration of the trial period, typically 14 days;
27         (c)     That the Apex Defendants will automatically enroll consumers in a
28   continuity plan with additional charges;

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 1         (d)    The cost of the continuity plan, and the frequency and duration of the
 2   recurring charges; and
 3         (e)    The terms of the Apex Defendants’ refund policies.
 4         114. The Apex Defendants’ failure to disclose, or disclose adequately, the
 5   material information described in Paragraph 113, above, in light of the
 6   representation described in Paragraph 112, above, constitutes a deceptive act or
 7   practice in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).
 8                                        COUNT IV
 9                 Unfairly Charging Consumers Without Authorization
10                              (Against the Apex Defendants)
11         115.    In numerous instances, the Apex Defendants have charged consumers
12   without their express informed consent.
13         116. The Apex Defendants’ actions cause or are likely to cause substantial
14   injury to consumers that consumers cannot reasonably avoid themselves and that is
15   not outweighed by countervailing benefits to consumers or competition.
16         117. Therefore, the Apex Defendants’ practices as described in Paragraph
17   115, above, constitute unfair acts or practices in violation of Section 5 of the FTC
18   Act, 15 U.S.C. §§ 45(a) and 45(n).
19                                        COUNT V
20        Unfairly Injuring Consumers by Engaging in Credit Card Laundering
21                              (Against the Apex Defendants)
22         118. In numerous instances, in connection with submitting applications to
23   open merchant accounts to further Defendants’ online subscription scam, the Apex
24   Defendants have engaged in credit card laundering by:
25         (a)    Falsely representing, directly or through agents acting on their behalf
26   and for their benefit, that the shell companies listed as the applicants on the
27   merchant applications were the true merchants who were applying for merchant
28   accounts; and/or

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 1         (b)      Falsely representing, directly or through agents acting on their behalf
 2   and for their benefit, that the individual signors listed as the principal owners on
 3   the merchant applications were the bona fide principal owners applying for
 4   merchant accounts.
 5         119. The Apex Defendants’ actions caused or were likely to cause
 6   substantial injury to consumers that was not reasonably avoidably by consumers
 7   themselves and that is not outweighed by countervailing benefits to consumers or
 8   competition.
 9         120. Therefore, the Apex Defendants’ acts or practices, as described in
10   Paragraph 118 above, constitute unfair acts or practices in violation of Section 5 of
11   the FTC Act §§ 45(a) and (n).
12                                         COUNT VI
13        Unfairly Injuring Consumers by Engaging in Credit Card Laundering
14                           (Against the Transact Pro Defendants)
15         121. As described in Paragraphs 88-102 of this Complaint, the Transact
16   Pro Defendants opened or maintained merchant accounts for the Apex Operation
17   when the entities in whose names the accounts were opened were not the
18   merchants processing payments through the accounts.
19         122. The acts or practices described in Paragraph 121, individually or in
20   combination, caused unauthorized charges on consumers’ debit and credit cards.
21   The Transact Pro Defendants’ acts or practices therefore caused consumers
22   substantial injury that was not reasonably avoidable by consumers themselves and
23   was not outweighed by countervailing benefits to consumers or competition.
24         123. Accordingly, the Transact Pro Defendants’ acts or practices as alleged
25   in this Complaint constitute unfair acts or practices in violation of Section 5 of the
26   FTC Act, 15 U.S.C. §§ 45(a) and (n).
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 1                                       COUNT VII
 2     Unfairly Injuring Consumers by Evading Chargeback Monitoring Programs
 3                         (Against the Transact Pro Defendants)
 4         124. As described in Paragraphs 88-102 of this Complaint, the Transact
 5   Pro Defendants instructed the Apex Operation on how to evade chargeback
 6   monitoring programs that detect and prevent fraud and unauthorized billing, and
 7   took actions designed to allow the Apex Operation’s merchant accounts to avoid
 8   such chargeback monitoring programs.
 9         125. The acts or practices described in Paragraph 124, individually or in
10   combination, caused unauthorized charges on consumers debit and credit cards.
11   The Transact Pro Defendants’ acts or practices therefore caused consumers
12   substantial injury that was not reasonably avoidable by consumers themselves and
13   was not outweighed by countervailing benefits to consumers or competition.
14         126. Accordingly, the Transact Pro Defendants’ acts or practices as alleged
15   in this Complaint constitute unfair acts or practices in violation of Section 5 of the
16   FTC Act, 15 U.S.C. §§ 45(a) and (n).
17          VIOLATIONS OF THE RESTORE ONLINE SHOPPERS’ CONFIDENCE ACT
18         127. In 2010, Congress passed the Restore Online Shoppers’ Confidence
19   Act, 15 U.S.C. §§ 8401-05, which became effective on December 29, 2010.
20   Congress passed ROSCA because “[c]onsumer confidence is essential to the
21   growth of online commerce. To continue its development as a marketplace, the
22   Internet must provide consumers with clear, accurate information and give sellers
23   an opportunity to fairly compete with one another for consumers’ business.”
24   Section 2 of ROSCA, 15 U.S.C. § 8401.
25         128. Section 4 of ROSCA, 15 U.S.C. § 8403, generally prohibits charging
26   consumers for goods or services sold in transactions effected on the Internet
27   through a negative option feature, as that term is defined in the Commission’s
28   Telemarketing Sales Rule (“TSR”), 16 C.F.R. § 310.2(w), unless the seller: (a)

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 1   clearly and conspicuously discloses all material terms of the transaction before
 2   obtaining the consumer’s billing information; (b) obtains the consumer’s express
 3   informed consent before making the charge; and (c) provides a simple mechanism
 4   to stop recurring charges. See 15 U.S.C. § 8403.
 5         129. The TSR defines a negative option feature as: “in an offer or
 6   agreement to sell or provide any goods or services, a provision under which the
 7   consumer’s silence or failure to take an affirmative action to reject goods or
 8   services or to cancel the agreement is interpreted by the seller as acceptance of the
 9   offer.” 16 C.F.R. § 310.2(w).
10         130. As described above, the Apex Defendants advertise and sell their
11   personal care products to consumers through a negative option feature as defined
12   by the TSR. See 16 C.F.R. § 310.2(w).
13         131. Under Section 5 of ROSCA, 15 U.S.C. § 8404, a violation of ROSCA
14   is a violation of a rule promulgated under Section 18 of the FTC Act, 15 U.S.C.
15   § 57a, and therefore constitutes an unfair or deceptive act or practice in or affecting
16   commerce in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).
17                                       COUNT VIII
18                 Violation of ROSCA – Auto-Renewal Continuity Plan
19                              (Against the Apex Defendants)
20         132. In numerous instances, in connection with the selling of their products
21   on the Internet through a negative option feature, the Apex Defendants have failed
22   to:
23             a. clearly and conspicuously disclose all material terms of the negative
24                option feature of the product transaction before obtaining the
25                consumer’s billing information;
26             b. obtain the consumer’s express informed consent to the negative option
27                feature before charging the consumer’s credit card, debit card, bank
28                account, or other financial account for the transaction; and/or

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 1             c. provide simple mechanisms for a consumer to stop recurring charges
 2                for products to the consumer’s credit card, debit card, bank account,
 3                or other financial account.
 4         133. The Apex Defendants’ practices as set forth in Paragraph 132 are a
 5   violation of Section 4 of ROSCA, 15 U.S.C. § 8403, and are therefore a violation
 6   of a rule promulgated under Section 18 of the FTC Act, 15 U.S.C. § 57a, 15 U.S.C.
 7   § 8404(a), and therefore constitute an unfair or deceptive act or practice in or
 8   affecting commerce in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).
 9          VIOLATIONS OF THE ELECTRONIC FUND TRANSFER ACT AND REGULATION E
10         134. Section 907(a) of the EFTA, 15 U.S.C. § 1693e(a), provides that a
11   “preauthorized” electronic fund transfer from a consumer’s account may be
12   “authorized by the consumer only in writing, and a copy of such authorization shall
13   be provided to the consumer when made.”
14         135. Section 903(10) of the EFTA, 15 U.S.C. § 1693a(10), provides that
15   the term “preauthorized electronic fund transfer” means “an electronic fund
16   transfer authorized in advance to recur at substantially regular intervals.” Section
17   1005.10(b) of Regulation E, 12 C.F.R. § 1005.10(b) provides that “[p]reauthorized
18   electronic fund transfers from a consumer’s account may be authorized only by a
19   writing signed or similarly authenticated by the consumer. The person that obtains
20   the authorization shall provide a copy to the consumer.”
21         136. Section 1005.10 of the Consumer Financial Protection Bureau’s
22   Official Staff Commentary to Regulation E, 12 C.F.R. § 1005.10(b), cmt. 5, Supp.
23   I, provides that “[t]he authorization process should evidence the consumer’s
24   identity and assent to the authorization.” The Official Staff Commentary to
25   Regulation E further provides that “[a]n authorization is valid if it is readily
26   identifiable as such and the terms of the preauthorized transfer are clear and readily
27   understandable.” 12 C.F.R. § 1005.10(b), cmt. 6, Supp. I.
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 1                                       COUNT IX
 2                   Unauthorized Debiting from Consumers’ Accounts
 3                             (Against the Apex Defendants)
 4         137. In numerous instances, the Apex Defendants debit consumers’ bank
 5   accounts on a recurring basis without obtaining a written authorization signed or
 6   similarly authenticated from consumers for preauthorized electronic fund transfers
 7   from their accounts, thereby violating Section 907(a) of the EFTA, 15 U.S.C.
 8   § 1693e(a), and Section 1005.10(b) of Regulation E, 12 C.F.R. § 1005.10(b).
 9         138. Further, in numerous instances, the Apex Defendants debit
10   consumers’ bank accounts on a recurring basis without providing a copy of a
11   written authorization signed or similarly authenticated by the consumer for
12   preauthorized electronic fund transfers from the consumer’s account, thereby
13   violating Section 907(a) of the EFTA, 15 U.S.C. § 1693e(a), and Section
14   1005.10(b) of Regulation E, 12 C.F.R. § 1005.10(b).
15         139. Under Section 918(c) of the EFTA, 15 U.S.C. § 1693o(c), a violation
16   of the EFTA and Regulation E constitutes a violation of the FTC Act.
17         140. Accordingly, by engaging in violations of the EFTA and Regulation E
18   as alleged in Paragraphs 137-138 of this Complaint, Defendants have engaged in
19   violations of the FTC Act. 15 U.S.C. § 1693o(c).
20                                 CONSUMER INJURY
21         141. Consumers have suffered and will continue to suffer substantial injury
22   as a result of Defendants’ violations of the FTC Act, ROSCA, and the EFTA. In
23   addition, Defendants have been unjustly enriched as a result of their unlawful acts
24   or practices. Absent injunctive relief by this Court, Defendants are likely to
25   continue to injure consumers, reap unjust enrichment, and harm the public interest.
26                   THE COURT’S POWER TO GRANT RELIEF
27         142. Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), empowers this Court
28   to grant injunctive and such other relief as the Court may deem appropriate to halt

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 1   and redress violations of any provision of law enforced by the FTC. The Court, in
 2   the exercise of its equitable jurisdiction, may award ancillary relief, including
 3   rescission or reformation of contracts, restitution, the refund of monies paid, and
 4   the disgorgement of ill-gotten monies, to prevent and remedy any violation of any
 5   provision of law enforced by the FTC.
 6         143. Section 19 of the FTC Act, 15 U.S.C. § 57b, Section 5 of ROSCA, 15
 7   U.S.C. § 8404, and Section 917(c) of the EFTA, 15 U.S.C. § 1693o(c), authorize
 8   this Court to grant such relief as the Court finds necessary to redress injury to
 9   consumers resulting from Defendants’ violations of the FTC Act, ROSCA, and the
10   EFTA, including the rescission or reformation of contracts and the refund of
11   money.
12                                PRAYER FOR RELIEF
13         144. Wherefore, Plaintiff FTC, pursuant to Sections 13(b) and 19 of the
14   FTC Act, 15 U.S.C. § 53(b) and 57b, Section 5 of ROSCA, 15 U.S.C. § 8404,
15   Section 917(c) of the EFTA, 15 U.S.C. § 1693o(c), and the Court’s own equitable
16   powers, requests that the Court:
17         A.     Award Plaintiff such temporary and preliminary injunctive and
18   ancillary relief as may be necessary to avert the likelihood of consumer injury
19   during the pendency of this action and to preserve the possibility of effective final
20   relief, including but not limited to temporary and preliminary injunctions, an order
21   freezing assets, immediate access, and appointment of a receiver;
22         B.     Enter a permanent injunction to prevent future violations of the FTC
23   Act, ROSCA, and the EFTA by Defendants;
24         C.     Award such relief as the Court finds necessary to redress injury to
25   consumers resulting from Defendants’ violations of the FTC Act, ROSCA, and the
26   EFTA, including but not limited to, rescission or reformation of contracts,
27   restitution, the refund of monies paid, and the disgorgement of ill-gotten monies;
28   and

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                                       EXHIBIT A
 1
 2       COMPANY                        DATE OF         DATE OF
                                        ORGANIZATION    ARTICLES OF
 3                                                      DISSOLUTION
         Alpha Group LLC                4/30/2014       5/9/2015
 4
         Apres Vous Media, LLC          9/9/2015
 5       Based Capital LLC              9/17/2013       5/9/2015
         Bold Media LLC                 3/7/2014        5/9/2015
 6       Capstone Capital, LLC          8/13/2013       7/29/2015
 7       Cascade Canyon LLC             8/6/2014
         Confidential Holdings, LLC     9/9/2015
 8       Cornice Group LLC              8/6/2014
         Crest Capital, LLC             8/13/2013       7/29/2015
 9
         Fortune Ventures LLC           9/17/2013       5/9/2015
10       Future Holdings LLC            9/17/2013       5/9/2015
         Grand Assets, LLC              9/17/2013       5/9/2015
11       Horizon Media, LLC             8/14/2015
12       Interzoom, LLC                 8/14/2015
         Lead Blast LLC                 9/17/2013       5/9/2015
13       Lion Capital LLC               4/28/2014       5/9/2015
         Macro Group LLC                4/28/2014       5/9/2015
14
         Mountain Range Ventures LLC    11/18/2014
15       Mountain Solutions, LLC        8/13/2013       5/9/2015
         Nutra First LLC                9/17/2013       5/9/2015
16       Nutra Global LLC               9/17/2013       5/9/2015
17       Old West Equity LLC            8/6/2014
         Omega Assets LLC               4/28/2014       5/9/2015
18       Rendezvous IT, LLC             12/30/2013      5/9/2015
         Shadow Peak, LLC               9/9/2015
19
         Singletrack Solutions LLC      11/18/2014
20       Sky Media Group, LLC           8/14/2015
         Teton Pass LLC                 11/18/2014
21       Virtual Media LLC              3/7/2014        5/9/2015
22       Wonder Leads LLC               9/17/2013       5/9/2015
         Wyoming Freedom Group LLC      11/18/2014
23       Zoom Media LLC                 4/28/2014       5/9/2015
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                                          EXHIBIT B
 1
 2       COMPANY                           DATE OF        DATE OF
                                           ORGANIZATION   DISSOLUTION
 3       Ace Media Group Ltd               8/14/2015
 4       Alpha Corporate Ventures Ltd      7/29/2014      3/8/2016
         Apres Vous Media Ltd              2/11/2016      7/18/2017
 5       Based Capital Ltd                 7/22/2014      1/19/2016
         Capstone Capital Solutions Ltd    2/9/2015
 6       Clik Trix Ltd                     8/14/2015
 7       Crest Capital Ventures Ltd        2/9/2015       7/26/2016
         Digital X Solutions Ltd           8/14/2015      9/26/2017
 8       Empire Partners Ltd               8/14/2015
         Energy Tomorrow Ltd               2/6/2015       7/19/2016
 9
         Exclusive Media Group Ltd         2/12/2016      7/18/2017
10       Fortune Ventures Ltd              7/22/2014      3/1/2016
         Future Hold Ventures Ltd          11/24/2014     5/10/2016
11       Future Precision Ltd              2/2/2017
12       G Force Max Ltd                   2/3/2017
         Grand Assets Ventures Ltd         11/24/2014     5/10/2016
13       Horizon Media Partners Ltd        8/14/2015
         Interzoom Capital Ltd             8/14/2015
14
         Lead Blast Ltd                    11/24/2014
15       Lion Capital Solutions Ltd        2/13/2015      7/26/2016
         Maverick Pro Ltd                  3/31/2017
16       Mountain Venture Solutions Ltd    2/9/2015
17       New Idea Group Ltd                7/28/2017
         Nutra First Ltd                   7/22/2014      1/2/2018
18       Nutra Global Ltd                  7/22/2014
         Omega Assets Ltd                  11/24/2014     5/10/2016
19
         Online Product Group Ltd          4/3/2017
20       Precision Tactic Group Ltd        2/3/2017
         Rendezvous IT Ltd                 2/9/2015
21       Sky Blue Media Ltd                8/14/2015
22       Snowdrift Solutions Ltd           3/9/2017
         Tactic Solutions Ltd              8/14/2015
23       Top Quality Group Ltd             7/27/2017
         Virtual Media Solutions Ltd       11/24/2014     5/10/2016
24
         Visitron Capital Ltd              8/14/2015      9/26/2017
25       Web Media Depot Ltd               8/14/2015      9/26/2017
         Zoom Media Ltd                    7/24/2014
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